       Case 3:24-cv-00274-MAD-ML Document 24-4 Filed 05/13/24 Page 1 of 1
                                                                                          U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                                                   FILED
                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF NEW YORK                                   May 13 - 2024

                                                                                               John M. Domurad, Clerk
                                      CERTIFICATE OF SERVICE


                                                                             Case No: 3:24-cv-274
                                                                             Date filed: 05/13/2024


Plaintiﬀ:                  Jane Doe, John Doe, John Doe, Jane Doe
Defendants:                Jonathan Rees aka Greg Ellis aka Johnathan Rees
                           aka Jonny Rees aka Jacob Lorenzo



I, Jane Doe, hereby certify that I am the plaintiff herein and served a copy of the following documents:

Motion for Default Judgment, Proposed Order, Jane Doe Affidavit in support of Default Judgment,
Amended Complaint, Certificate of Default by Clerk on Defendant:

Jonathan Rees aka Greg Ellis aka Jonny Rees et al. at 2251 W. ROSCOE ST. CHICAGO, IL
60618 and to PMB 101, 1770, S.Randall Road, Suite A, Geneva IL. 60134-4646

in a 1st Class postpaid properly addressed envelope under the exclusive care and custody of the United
States Post Office by mailing and depositing a true and correct copy of said document at:

USPS 117 Rano Blvd, Vestal, NY 13850

on the following date: 05/13/2024

I certify that the foregoing is true and correct.

Dated: 05/13/2024

                                                Signed: __________________
                                                Name: Jane Doe
